(Rev. 10/19) Judgment in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                            for the
                                                       District of Alaska

      ALASKA WILDLIFE ALLIANCE, et al.,
                              Plaintiffs                       )
                                 v.                            )      Civil Action No. 3:21-cv-00209-SLG
                                                               )
   U.S. FISH AND WILDLIFE SERVICE, et al.,                     )
                            Defendants                         )
                                 and
                                                               )
                                                               )
  ALASKA OIL AND GAS ASSOCIATION, et al.,

                                            JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT the Plaintiffs take nothing, that the action be dismissed on the merits. Judgment entered in
          favor of Federal Defendants and Intervenor-Defendant Alaska Oil and Gas Association.




APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                                                    Brian D. Karth
Date: March 29, 2023                                                                Brian D. Karth
                                                                                     Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.



                 Case 3:21-cv-00209-SLG-KFR Document 63 Filed 03/29/23 Page 1 of 1
